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     Cascadia Wildlands v. Office of the Oregon State Director for
               USDA-APHIS Wildlife Services, et al.

                         Complaint Exhibit List

1.   April 23, 2018 Plaintiff Cascadia Wildlands’ FOIA Request

2.   April 27, 2018 to May 1, 2018 email communications between Defendant
     Wildlife Services and Plaintiff Cascadia Wildlands

3.   August 29, 2018 Plaintiff Cascadia Wildlands email and Defendant Wildlife
     Services’ September 4, 2018 responsive email

4.   September 12, 2018 to October 2, 2018 email communications between
     Defendant Wildlife Services and Plaintiff Cascadia Wildlands

5.   January 17, 2019 Plaintiff Cascadia Wildlands email to Defendant Wildlife
     Services
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From:                Henson, Terry A - APHIS
To:                  APHIS-FOIA Officer
Subject:             FW: FOIA from Cascadia Wildlands
Date:                Tuesday, May 01, 2018 3:02:00 PM
Attachments:         Cascadia Wildlands FOIA 4-25-18.pdf


See the requesters clarification below for this FOIA.  I assigned it yesterday but I don’t see it in
FX.  I didn’t request that it be placed on hold because I was hopeful that the requester would reply
quickly and provide the date range for the one line item.
 
Robbie
All Other
Wildlife Services
 
 
 
 
From: Sam Krop [mailto:sam@cascwild.org]
Sent: Monday, April 30, 2018 12:05 PM
To: Henson, Terry A - APHIS <Terry.A.Henson@aphis.usda.gov>
Subject: re: FW: FOIA from Cascadia Wildlands
 
Hello,
Please provide information from line item #4 for dates ranging from January 2015 to the present. 

Thank you for your assistance,
 
Sam Krop
Grassroots Organizer
Cascadia Wildlands  -  we like it wild.
CascWild.org  
PO Box 10455 Eugene, OR 97440  -  541.434.1463
 
Cascadia Wildlands defends and restores Cascadia’s wild ecosystems in the forests, in the courts, and in the streets. We
envision vast old-growth forests, rivers full of salmon, wolves howling in the backcountry, and vibrant communities sustained
by the unique landscapes of the Cascadia bioregion. Join our movement today.
 
 
 

From: "Henson, Terry A - APHIS" <Terry.A.Henson@aphis.usda.gov>
Sent: Monday, April 30, 2018 8:30 AM
To: "sam@cascwild.org" <sam@cascwild.org>
Subject: FW: FOIA from Cascadia Wildlands
 
Hello Ms. Krop,
 
We are in receipt of and have reviewed your FOIA request.  In order to adequately
search for responsive records we ask that you provide the following clarification.
   ·        Please provide the records search date range for line item #4 of your request.

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Should you have any questions regarding this clarification request, I can be reached at
301/851-4086.
 
Regards!
 
 
 
 
From: Henson, Terry A - APHIS
Sent: Monday, April 30, 2018 11:33 AM
To: APHIS-FOIA Officer <FOIA.Officer@aphis.usda.gov>
Subject: FW: FOIA from Cascadia Wildlands
 
Robbie
All Other
Wildlife Services
 
 
From: APHIS-FOIA Officer
Sent: Monday, April 30, 2018 10:25 AM
To: Henson, Terry A - APHIS <Terry.A.Henson@aphis.usda.gov>
Subject: FW: FOIA from Cascadia Wildlands
 
Ms. Terry, can you please assign this request?
 
Thanks Ke
 
From: Hubb, Felicia L - APHIS
Sent: Monday, April 30, 2018 9:12 AM
To: APHIS-FOIA Officer <FOIA.Officer@aphis.usda.gov>
Cc: Henson, Terry A - APHIS <Terry.A.Henson@aphis.usda.gov>; McNally, Andrea C - APHIS
<Andrea.C.McNally@aphis.usda.gov>
Subject: FW: FOIA from Cascadia Wildlands
 
Good Morning,
 
Oregon State office received the attached FOIA request. Please process.
 
Thanks, Felicia
 
From: Williams, David E - APHIS
Sent: Friday, April 27, 2018 4:29 PM


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To: Hubb, Felicia L - APHIS <Felicia.L.Hubb@aphis.usda.gov>
Cc: McGowan, Tracy - OGC <Tracy.McGowan@ogc.usda.gov>; Kendrot, Stephen R - APHIS
<Stephen.R.Kendrot@aphis.usda.gov>; Yeary, Michael A - APHIS <Mike.A.Yeary@aphis.usda.gov>
Subject: FOIA from Cascadia Wildlands
 
Hello APHIS FOIA and OGC:
My office received a FOIA request from Cascadia Wildlands via a certified mailing on 4-25-18.  My
assistant Kevin Christensen and I have not been in the office the past two days.  I wanted to make
you aware of this FOIA request which I did not read till today.  I want to point out the requesting
party is a current plaintiff in a lawsuit filed against the Wildlife Services program here in Oregon.
 
Kevin and I would like to visit with the FOIA Office and OGC to get guidance on how to respond to
this FOIA request.
Thank you,
Dave
 
 
David E. Williams
State Director
USDA-APHIS-Wildlife Services
6135 NE 80th, Ste A-8
Portland, OR 97218
(503) 326-2346
Fax (503) 326-2367
david.e.williams@aphis.usda.gov
 
TWS Certified Wildlife Biologist® 
 
 




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                  EXHIBIT 3
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                                                                         Rebecca White <rebeccawhiteowl@gmail.com>



USDA Wildlife Services FOIA request
3 messages

Rebecca White <rebeccawhiteowl@gmail.com>                                                   Wed, Aug 29, 2018 at 11:44 AM
To: Kevin.L.Christensen@aphis.usda.gov

 Good afternoon Mr. Christensen:

 On behalf of Cascadia Wildlands, I am following up on a FOIA request submitted to your
 office by letter dated April 23, 2018.

 For your convenience, I have attached the request as submitted. If your FOIA coordinator has
 any clarification and/or followup questions prior to completing Cascadia's request, please put
 him or her in touch with me directly.

 Thank you.

 Rebecca White

 Rebecca White, J.D. | California Bar No. 301109


       Cascadia Wildlands FOIA Request.pdf
       776K


Christensen, Kevin L - APHIS <Kevin.L.Christensen@aphis.usda.gov>                              Tue, Sep 4, 2018 at 2:15 PM
To: Rebecca White <rebeccawhiteowl@gmail.com>


 Ms. White,

 I was out of the office last week when you sent this email. I have forward your email on to our FOIA
 office who is reviewing the information and to have them follow up with you. Thank you for the follow
 up email.
 [Quoted text hidden]




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 and subject the violator to civil or criminal penalties. If you believe you have received this message in error, please
 notify the sender and delete the email immediately.


Rebecca White <rebeccawhiteowl@gmail.com>                                                      Tue, Sep 4, 2018 at 2:20 PM
To: "Christensen, Kevin L - APHIS" <Kevin.L.Christensen@aphis.usda.gov>

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Thank you, Mr. Christensen. I appreciate your quick response upon your return from vacation.
The first day back after a holiday is always such a busy day.

Have a great afternoon, and I look forward to hearing from your FOIA office shortly.

Rebecca White



Rebecca White, J.D. | California Bar No. 301109


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Rebecca White <rebeccawhiteowl@gmail.com>                                         Tue, Oct 2, 2018 at 11:06 AM
To: Robbie.T.Perry@aphis.usda.gov
Cc: Janelle.J.Jordan@aphis.usda.gov, WS.FOIA@aphis.usda.gov

 Good morning,

 We anticipated receiving your first production per this request by September 28, 2018. Please
 advise when we can expect delivery. Please further advise when we can expect the remaining
 production.

 Please send all responsive production to this email address. I am handling this request on
 behalf of Cascadia Wildlands.

 Thank you.
 Rebecca White

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Rebecca White, J.D. | California Bar No. 301109



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January 7, 2019

David E. Williams
State Director, Oregon
USDA-APHIS Wildlife Services
6135 NE 80th, Suite A-8
Portland, OR 97218
David.E.Williams@aphis.usda.gov

Re: FOIA Request 2018-APHIS-03818-F

Dear Mr. Williams:

This letter is to request confirmation that, pursuant to the Freedom of Information Act (“FOIA”),
5 U.S.C. 552, as amended, Wildlife Services will fulfill Cascadia Wildlands’ records request,
originally submitted by certified letter dated April 23, 2018.

Cascadia Wildlands requested the following records:

1. All reports, statistics, summary data, and documentation quantifying or describing lethal or
   nonlethal management of wolves, coyotes, bear, or any other predator species in any part of
   Oregon by Wildlife Services (“WS”) employees, agents, assigns, delegees, or contractors for
   the period from January 1, 2012 to present. This includes depredation statistics organized by
   component/method type or capture/restraint method.
2. All documents relating to the sale and/or auction of wildlife furs or other wild animal
   products obtained as a result of lethal control activities in Oregon from January 1, 2015 to
   present.
3. All contracts or other related documents in which WS offers or agrees to perform lethal
   control services in Oregon from January 1, 2015 to present. This includes contracts made
   with local governments, state agencies, or private parties.
4. All National Environmental Policy Act (“NEPA”) documents relating specifically to lethal
   control activities in Oregon. This includes Environmental Assessments (“EAs”),
   Environmental Impact Statements (“EISs”), and Categorical Exclusions.
5. All documents relating to WS’s formal or informal consultation with any State of Oregon or
   Federal agency with respect to lethal control activities in Oregon from January 1, 2015 to
   present.

By email on April 30, 2018, WS confirmed receipt of this request and requested date-range
clarification for item #4, which Cascadia Wildlands provided by email the same day. By email
on August 29, 2018, Cascadia Wildlands contacted Kevin Christensen, Assistant State Director,
requesting information on the status of the records request. By email on September 12, 2018,
Robbie Perry, Government Information Specialist, indicated that Wildlife Services held records
responsive to the request and set an initial production date of September 28, 2018. Cascadia
Wildlands responded by email on September 12, 2018 to acknowledge the planned partial




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production date and to inquire as to when full production could be expected. No response was
received.

Cascadia Wildlands did not receive any records from WS by September 28, 2018. On October 2,
2018, Cascadia Wildlands contacted Wildlife Services by email to inquire when the initial
production would be forthcoming and when complete production could be expected. No
response was received.

Pursuant to 5 U.S.C. 552(a)(6)(C)(i), “Upon any determination by an agency to comply with a
request for records, the records shall be made promptly available to such person making such
request.” Cascadia Wildlands respectfully requests a response detailing when Wildlife Services
will fulfill this request.


                                                                                      Sincerely,




                                                                            Cascadia Wildlands




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